                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE

                                           )
                                           )
  JERRY THOMAS                             ) Case No.:
                                           )
               Plaintiff.                  ) 3:20-cv-00358 DCLC-HBG
                                           )
        v.                                 )
                                           )
  HEALTHCARE REVENUE                       )
  RECOVERY GROUP, LLC                      )
                                           )
                  Defendant.               )

                            NOTICE OF SETTLEMENT

        TO THE CLERK:

  NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

  reached settlement. The parties anticipate filing a stipulation of dismissal of this

  action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



  Dated: September 1, 2021               By: /s/ Jacob U. Ginsburg
                                           Jacob U. Ginsburg, Esquire
                                           Kimmel & Silverman, P.C.
                                           30 E. Butler Pike
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                         CERTIFICATE OF SERVICE

              I, Jacob U. Ginsburg, Esquire, do certify that I served a true and

  correct copy of the Notice of Settlement in the above-captioned matter, upon the

  following via CM/ECF system:

  Heather Gwinn Pabon
  Pamela Bagley Webb
  Gordon Rees Scully Mansukhani, LLP
  3401 Mallory Lane, Suite 120
  Franklin, TN 37067
  Attorney for Defendant




  Dated: September 1, 2021             By: /s/ Jacob U. Ginsburg
                                         Jacob U. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
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